             Case 1:22-cv-00515-CJN Document 1 Filed 02/28/22 Page 1 of 6


                         IN THE UNITED STATES DISTRICT COURT
                             OF THE DISTRICT OF COLUMBIA

BUZZFEED INC.,                                    )
111 East 18th Street, 13th Floor                  )
New York, NY 10003                                )
                                                  )
        Plaintiff,                                )
                                                  )
        v.                                        )
                                                  )
FEDERAL BUREAU OF INVESTIGATION,                  )
935 Pennsylvania Avenue NW                        )
Washington, D.C. 20535                            )
                                                  )
U.S. DEPARTMENT OF JUSTICE,                       )
950 Pennsylvania Avenue NW                        )
Washington, D.C. 20530                            )
                                                  )
        Defendants.                               )

                                        COMPLAINT

        1.    Plaintiff, BUZZFEED INC., brings this Freedom of Information Act suit to force

Defendants FEDERAL BUREAU OF INVESTIGATION and U.S. DEPARTMENT OF

JUSTICE to produce the complete case file for the FBI’s closed investigation of a bombing that

occurred at Yale Law School on May 22, 2003. In violation of the Freedom of Information Act,

FBI has failed to issue a determination letter within the statutory deadline and has failed to

promptly produce the records.

                                          PARTIES

        2.      Plaintiff BUZZFEED INC. is a member of the media and made the FOIA request

at issue in this case.

        3.      Defendant FEDERAL BUREAU OF INVESTIGATION (“FBI”) is a federal

agency under U.S. DEPARTMENT OF JUSTICE and subject to the Freedom of Information

Act, 5 U.S.C. § 552.
            Case 1:22-cv-00515-CJN Document 1 Filed 02/28/22 Page 2 of 6


       4.      Defendant U.S. DEPARTMENT OF JUSTICE (“DOJ”) is a federal agency and

subject to the Freedom of Information Act, 5 U.S.C. § 552.

                                JURISDICTION AND VENUE

       5.      This case is brought under 5 U.S.C. § 552(a)(4)(B) and presents a federal question

conferring jurisdiction on this Court. See 28 U.S.C. § 1331.

       6.      Venue is proper under 5 U.S.C. § 552(a)(4)(B).

                                        BACKGROUND

       7.      On June 21, 2021, BUZZFEED, through one of its journalists Ken Bensinger,

submitted a FOIA request to FBI for “the complete case file for the FBI investigation of a

bombing that occurred at Yale Law School on May 22, 2003, as well as any related documents

and materials that touch on the alleged bombing.” Ex. 1.

       8.      FBI assigned reference number 1499427-000 to the matter.

       9.      On July 9, 2021, FBI provided “380 pages of records” that were “determined to

be responsive” to the request and “were previously processed and released” to another FOIA

requester. Ex. 2.

       10.     In that letter, FBI stated that “additional records” responsive to the request exist

and invited BUZZFEED to indicate whether it wants FBI to process the additional records within

thirty days. Id.

                           NOVEMBER 18, 2021 FOIA REQUEST

       11.     On or around November 18, 2021, BUZZFEED, through one of its journalists

Ken Bensinger, submitted a new request to FBI for “the unprocessed records pertaining to the

Yale Law School bombing.”            BUZZFEED emphasized that the request seeks “all

documentation” about the subject matter. Ex. 3.




                                               -2-
          Case 1:22-cv-00515-CJN Document 1 Filed 02/28/22 Page 3 of 6


       12.     BUZZFEED also requested a fee waiver and asked to be categorized as a

representative of the news media. Id.

       13.     On November 24, 2021, FBI acknowledged receipt of the request, assigned

reference number 1499427-001 to the matter, and treated BUZZFEED as a “general (all others)

requester.” Ex. 4.

       14.     On November 26, 2021, FBI stated that “unusual circumstances” apply to the

processing of the request pursuant to 5 U.S.C. § 552(a)(6)(B)(iii). Ex. 5.

       15.     On November 29, 2021, FBI denied the fee waiver. Ex. 6.

       16.     On December 3, 2021, to resolve FBI’s incorrect categorization of BUZZFEED

as a general requester, BUZZFEED reiterated that it is a representative of the news media, that it

intends to use the records for news gathering purposes, and that it plans to publish articles with

the obtained records, but FBI directed BUZZFEED to submit an appeal. Ex. 7.

       17.     On December 22, 2021, FBI informed BUZZFEED that the estimated cost for

duplication fees is $475 if BUZZFEED chooses to receive the documents in CDs. Ex. 8.

       18.     On December 23, 2021, BUZZFEED appealed the fee waiver denial.                DOJ

assigned A-2022-00518 to the appeal. Ex. 9.

       19.     On December 30, 2021, BUZZFEED notified FBI that it is willing to pay the

estimated cost of $475 to ensure FBI continues its processing of the request, but made it clear

that its willingness to pay does not indicate that it agrees to FBI’s categorization of BUZZFEED

as a general requester. Further, BUZZFEED stated that it appealed the fee waiver denial and

provided the appeal reference number to FBI. Ex. 10.

       20.     On January 10, 2022, FBI indicated based on a preliminary assessment of the

volume of records involved that the request is considered as an “extra-large track request.” FBI

stated that the “current average time is approximately 79 months to complete.” Ex. 11 at 2-3.


                                               -3-
           Case 1:22-cv-00515-CJN Document 1 Filed 02/28/22 Page 4 of 6


        21.     FBI further invited BUZZFEED to narrow the request to “no more than 50 pages

to place it in the small track,” which would take approximately 5 months to complete. Id. at 2.

        22.     FBI provided the “current average time” for processing for each “track,” but did

not provide any other information that would assist BUZZFEED to potentially narrow the scope

of the request. Id. at 2-3.

        23.     On January 10, 2022, BUZZFEED declined to narrow the scope of the request

and asked the FBI to begin processing the request in its entirety. Id. at 1-2.

        24.     On January 10, 2022, FBI confirmed that it would continue to process the request

“as-is in the extra-large track.” Id. at 1.

        25.     As of the date of this filing, DOJ has not adjudicated BUZZFEED’s appeal on the

fee waiver denial.

        26.     As of the date of this filing, FBI has not complied with FOIA, has not issued a

determination, and has not produced all records responsive to the request.

         COUNT I – DEFENDANTS’ FAILURE TO ISSUE A DETERMINATION

        27.     The above paragraphs are incorporated herein.

        28.     The request seeks the disclosure of agency records and was properly made.

        29.     Defendants are federal agencies and subject to FOIA.

        30.     Included within the scope of the requests are one or more records or portions of

records that are not exempt under FOIA.

        31.     Defendants have failed to issue a determination within the statutory deadline.

  COUNT II – DEFENDANTS’ FAILURE TO CONDUCT A REASONABLE SEARCH

        32.     The above paragraphs are incorporated herein.

        33.     The request seeks the disclosure of agency records and was properly made.

        34.     Defendants are federal agencies and subject to FOIA.


                                                -4-
              Case 1:22-cv-00515-CJN Document 1 Filed 02/28/22 Page 5 of 6


       35.       Defendants have failed to conduct a reasonable search for records responsive to

the requests.

              COUNT III – DEFENDANTS’ FAILURE TO PRODUCE RECORDS

       36.       The above paragraphs are incorporated herein.

       37.       The request seeks the disclosure of agency records and was properly made.

       38.       Defendants are federal agencies and subject to FOIA.

       39.       Included within the scope of the requests are one or more records or portions of

records that are not exempt under FOIA.

       40.       Defendants have failed to produce all records responsive to the requests.

WHEREFORE, BUZZFEED asks the Court to:

       i.        declare that Defendants violated FOIA;

       ii.       order Defendants to conduct a reasonable search for records;

       iii.      order Defendants to issue a determination;

       iv.       order Defendants to promptly produce all non-exempt requested records or
                 portions of records;

       v.        enjoin Defendants from withholding non-exempt public records under FOIA;

       vi.       award BUZZFEED attorneys’ fees and costs; and

       vii.      award such other relief the Court considers appropriate.


Dated: February 28, 2022




                                                -5-
Case 1:22-cv-00515-CJN Document 1 Filed 02/28/22 Page 6 of 6


                                  RESPECTFULLY SUBMITTED,

                                  /s/ Matthew V. Topic

                                  Attorney for Plaintiff
                                  BUZZFEED INC.

                                  Matthew Topic, D.C. Bar No. IL 0037
                                  Merrick Wayne, D.C. Bar No. IL 0058
                                  Shelley Geiszler D.C. Bar No. IL 0087
                                  LOEVY & LOEVY
                                  311 North Aberdeen, 3rd Floor
                                  Chicago, IL 60607
                                  312-243-5900
                                  foia@loevy.com




                            -6-
